                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                             DOCKET NO. 3:06-CR-00151-FDW-11


 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
         vs.                                       )                    ORDER
                                                   )
 MICHAEL FORCHEMER,                                )
                                                   )
                Defendant.                         )
                                                   )

       THIS MATTER comes now before the Court upon the receipt of a letter, dated August 29,

2007, from Michael Forchemer, to United States District Court Judge Frank D. Whitney. In his

letter, Mr. Forchemer, who is currently in custody, asks for a bond review hearing. The record

reflects that Mr. Forchemer is represented by appointed counsel, Kenneth D. Snow. It is the practice

of this Court, when a defendant is represented by counsel, to rule on motions filed only by counsel

of record. Therefore, if Mr. Forchemer has any matters he wishes this Court to consider, they must

be submitted through his attorney.

       Therefore, Mr. Forchemer’s request for a bond review hearing is DENIED without prejudice

to his right to re-file the motion, if appropriate, through his attorney, Mr. Snow.

       The Clerk of Court is directed to send a copy of defendant’s letter to Mr. Snow along with

his copy of this Order.
                                                    Signed: October 4, 2007
       IT IS SO ORDERED.




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